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                                                               United States Bankruptcy Court
                                                                      Southern District of Florida
 In re      Manuel Gomez                                                                                   Case No.   16-16796-SMG
                                                                                  Debtor(s)                Chapter    13


                                                                     Notice of Change of Address

Debtor's Social Security Number:                              xxx-xx-2479


My Former Mailing Address and Telephone Number was:

 Name:                  Manuel Gomez

 Street:               13751 NW 4th Street, Apt No. D104

 City, State and Zip: Pembroke Pines, Florida 33028




Please be advised that effective April 1, 2021
my new mailing address is:

 Name: Manuel Gomez

 Street: 2670 Aventura Blvd., #2-106

 City, State and Zip: Land O' Lakes, Florida 34638



                                                                                        /s/ Manuel Gomez
                                                                                        Manuel Gomez
                                                                                        Debtor




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